The petition set forth a cause of action against each defendant, and the court did not err in overruling the general demurrers.
                        No. 16640. MAY 12, 1949.
C. B. Higgason, A. W. McElmurray and H. P. Barfield filed in the Superior Court of Fulton County, Georgia, on December 23, 1948, an equitable petition against Mrs. B. S. Williams and Miss Mary Inez Williams, alleging the following: The petitioners are occupying as tenants apartments in the premises known as 313 Fourth Street, N.E., in the City of Atlanta, Georgia, occupying respectively apartments 1, 2, and 4. The petitioners rented the said apartments from the defendant, Mrs. B. S. Williams, who resides with her daughter, the defendant, Mary Inez Williams, in apartment No. 3 of the same building in which the petitioners occupy their apartments. In all of their dealings with the defendant, *Page 350 
Mrs. B. S. Williams, she was the ostensible owner of the premises, and the petitioners attorned to her as the landlord in their said tenancies. The defendant, Mrs. B. S. Williams, rented the said apartments 1, 2, and 4 to the petitioners at a rental in excess of the maximum rental fixed on the said apartments by the Housing Expediter of the Atlanta Defense Rental Area, in which area the said housing unit is located, and the petitioners filed separate suits in the Civil Court of Fulton County, Georgia, against the defendant, Mrs. B. S. Williams, and on December 6, 1948, they obtained a verdict and judgment against her for the following amounts: The petitioner McElmurray obtained a judgment for $446.67 and $100 attorney's fees; the petitioner Higgason recovered a judgment for $388.34 and $75 attorney's fees; and the petitioner Barfield recovered a judgment for $235 and $50 attorney's fees; all in addition to costs. During the trial of the said proceedings in the Civil Court of Fulton County, Georgia, the petitioners ascertained for the first time that the defendant, Mrs. B. S. Williams, did not claim to be the owner of the said premises, and the petitioners have since ascertained that the legal title to the property is vested in the defendant, Mary Inez Williams, the daughter of the defendant, Mrs. Williams. The defendant, Mrs. B. S. Williams, is, to the best information, knowledge, and belief of the petitioners, insolvent and cannot be made to respond to the judgment which the petitioners have obtained against her, as hereinabove set out, unless the petitioners obtain the aid of the court of equity. On or about November 1, 1948, the defendant, Mrs. B. S. Williams gave notice to the petitioners to terminate their tenancy as of December 31, 1948, and since receipt of the said notices the petitioners have been threatened by the attorney of the said Mrs. B. S. Williams that, unless they vacate the premises promptly on December 31, 1948, she will proceed to file and prosecute dispossessory proceedings against them. The petitioners charge that there is a collusion between the defendants, in that Mrs. B. S. Williams obtained the attornment from the petitioners by fraudulent misrepresentations, and in that she seeks to evade the penalty of violating the housing regulations by retaining title to the premises in the name of her daughter while she, Mrs. Williams, acts as landlord over the said premises, both defendants knowing full well that they have *Page 351 
violated the Federal regulations in making excessive rent collections from the petitioners, and knowing that the penalty represented by the judgments which the petitioners have obtained against the defendant, Mrs. B. S. Williams, cannot be collected from the insolvent Mrs. Williams.
The petitioners charge that the defendant, Mary Inez Williams, holds the legal title to the said premises under a deed obtained from Mrs. Ida H. Roerig, recorded in Deed Book 2001, page 127, but that the defendant, Mrs. B. S. Williams, is the actual owner of the said premises, and she has simply taken title to the property in the name of her said daughter. If, on the other hand, the said Mary Inez Williams is the actual owner of the property, she has colluded with the defendant, Mrs. B. S. Williams, and has received the actual benefits from the leasing of the said premises to the petitioners for the purpose of evading the penalties provided by the Federal rent regulations, and she would, in that event, be liable to the petitioners, under the said regulations, for triple the amount of the actual excess rent collected, which amounts to $1440 as to the petitioner McElmurray, $1165 as to the petitioner Higgason, and $705 as to the petitioner Barfield, and reasonable attorneys' fees and costs, in addition to the said amounts. Unless the petitioners are permitted to remain in possession of the said premises and to offset the rent now fixed on the said premises by the Housing Authority, they will be deprived by the said defendants from collecting the judgments which they have obtained. The rent now fixed on the said apartments by the Housing Authority is as follows: apartment No. 1, occupied by the petitioner Higgason, $47.50 per month; apartment No. 2, occupied by the petitioner McElmurray, $47.50 per month; apartment No. 4, occupied by the petitioner Barfield, $50 per month. The petitioners allege that equity has jurisdiction of this proceeding for the following reasons: (a) Any lease or contract between the defendant, Mrs. B. S. Williams, and the defendant, Mary Inez Williams, is purely fictitious, and was made for the purpose of defeating the petitioners' claim for excessive rent, and any such lease or contract whereby attornment was obtained from the petitioners by Mrs. B. S. Williams is fraudulent and void. (b) The arrangement whereby legal title to the premises is held in the name of Mary Inez Williams, while Mrs. B. S. Williams was *Page 352 
landlord of the premises as to the petitioners, is a fictitious arrangement for the purpose of rendering the defendant, Mrs. B. S. Williams, insolvent and to keep the property beyond the reach of the petitioners for the enforcement of their claim and judgment for excessive rents. (c) To avoid multiplicity of suits, the entire controversy should be heard in one proceeding to prevent the perpetration of fraud upon the petitioners, which cannot be reached by a technical legal proceeding. (d) Only a court of equity can restrain the defendants from dispossessing the petitioners from the premises which they occupy, and subject the property itself to the payment of the claims or offset the judgment which the petitioners have obtained against future rent for the premises. The prayers were: (a) That the legal title to the said premises be decreed to be in the defendant, Mrs. B. S. Williams, and subject to the judgments which the petitioners have obtained against her as hereinbefore described. (b) That the petitioners be awarded judgment against the defendant, Mary Inez Williams, for wilfully violating the provisions of the Federal Rent Control Act and for colluding with the defendant, Mrs. B. S. Williams, to defraud the petitioners from the said excessive rent. (c) That both of the defendants be enjoined from filing in any court any dispossessory proceeding or eviction proceeding by which they might seek to force the petitioners to vacate their respective apartments. (d) That the petitioners be respectively permitted to continue their occupancy of their respective apartments and credit the judgments already obtained against the defendant, Mrs. B. S. Williams, with the monthly rental fixed for the said apartments by the Federal Housing Expediter, as hereinbefore set forth. (e) For process. (f) For general relief.
Mrs. B. S. Williams demurred generally to the petition on the ground that no cause of action was set forth against her. She also demurred on several special grounds.
Mary Inez Williams demurred generally to the petition on the ground that no cause of action was set forth against her, and on the further ground that the petitioners have a complete and adequate remedy at law. She also demurred specially to one ground of the petition. The court overruled all grounds of demurrer, and the defendants except to the judgment overruling the general demurrer of each. *Page 353 
No question is raised as to whether there be a misjoinder of causes of action or of parties plaintiff and defendant. Hence, the petitioners are entitled to pursue any cause of action which the petition asserts against either or both of the defendants. After alleging a joint perpetration of fraud upon the part of the defendants, mother and daughter, in colluding with each other in an arrangement whereby the mother, Mrs. B. S. Williams, would pose as and represent herself to be the landlord of the premises in question and collect excessive rents, the legal title being meanwhile fraudulently held in the name of the daughter, Miss Mary Inez Williams, so that the property might not be subjected to any judgment against the mother, it is prayed that the legal title be decreed to be in the mother and the property be subject to the judgment already obtained against the mother for the amount of the excess of rents. If upon the trial the evidence be sufficient to show that the mother is really the owner of the property, a decree of title in her would be authorized as prayed, thus rendering the property subject to the judgment already obtained against the mother. Under the Federal Housing and Rent Act of 1947, as amended March 30, 1948, c. 161, Title II, § 204, 62 Stat. 98, 50 U.S.C.A., Supp. (1949), § 1899, a tenant may not, subject to certain exceptions not here involved be evicted so long as he continues to pay the rent to which the landlord is entitled. It is alleged that the petitioners have each recovered a judgment for the excess paid in rents in an amount which is the equivalent of several months' rent as authorized by the Federal Housing Expediter. If, therefore, a decree of title be entered in the mother, the petitioners would in equity be entitled to an injunction against Mrs. Williams, as prayed, restraining her as the real owner from instituting any dispossessory proceeding while the judgment remains unsatisfied and the unpaid rentals are not in excess of the amount of the judgment as to each petitioner. If at the time of the trial the judgments for the excess in rents are still more than the amount of any unpaid rents, the petitioners would be entitled to a decree that they be permitted to continue *Page 354 
their occupancy of the respective apartments and apply against the rents the amounts of their judgments, provided that they do not seek recovery of their judgments by subjecting the property to levy and sale.
Since the petitioners are not estopped to dispute the title of Mrs. B. S. Williams as landlord because, as alleged, their attornment to her was superinduced by misrepresentations (Tison
v. Yawn, 15 Ga. 491 (7) (60 Am. D. 708); 51 C. J. S. 935, § 279), in the event the evidence establishes that the daughter, Mary Inez Williams, is actually the owner of the property, and the allegations about to be mentioned are proved upon the trial, a decree may be entered against her in the following respects. It is alleged in one theory of the case that she is the real owner and merely used her mother as a blind in collecting the rents as landlord, and that she received the rents from her mother, all being in excess of the amounts fixed by the Housing Authority. In such circumstances it appears that the petitioners have sued the wrong person heretofore for collection of the excess in rents; and while the suit against the mother and the judgment therein would not preclude them from seeking a similar judgment against the daughter as the real owner (Code, § 3-114), there is no such attempt here made. The only money judgment sought against her is for a penalty because of her alleged violation of the Housing and Rent Act of 1947, as amended (50 U.S.C.A., Supp. (1949), § 1895), which provides as follows: "Any person who demands, accepts, or receives any payment of rent in excess of the maximum rent prescribed under section 204 [section 1894 of this Appendix] shall be liable to the person from whom he demands, accepts, or receives such payment, for reasonable attorney's fees and costs as determined by the court, plus liquidated damages in the amount of (1) $50, or (2) three times the amount by which the payment or payments demanded, accepted, or received exceed the maximum rent which could lawfully be demanded, accepted, or received, whichever in either case may be the greater amount: Provided, that the amount of such liquidated damages shall be the amount of the overcharge or overcharges if the defendant proves that the violation was neither wilful nor the result of failure to take practicable precautions against the occurrence of the violation. Suit to recover such *Page 355 
amount may be brought in any Federal, State, or Territorial court of competent jurisdiction within one year after the date of such violation. For the purpose of determining the amount of liquidated damages to be awarded to the plaintiff in an action brought under this section, all violations alleged in such action which were committed by the defendant with respect to the plaintiff prior to the bringing of action shall be deemed to constitute one violation, and the amount demanded, accepted, or received in connection with such one violation shall be deemed to be the aggregate amount demanded, accepted or received in connection with all violations. A judgment in an action under this section shall be a bar to a recovery under this section in any other action against the same defendant on account of any violation with respect to the same plaintiff prior to the institution of the action in which such judgment was rendered." If it be shown by evidence that the defendant, Miss Mary Inez Williams, did in fact collude with the mother as alleged and herself received the excess rents, the petitioners would be entitled to a decree awarding them respectively an amount which is three times the excess in rents paid by them, plus reasonable attorney's fees and costs. They would also be entitled to an injunction restraining her from instituting any dispossessory proceeding, and to a decree that they be allowed to continue their occupancy of the respective apartments and apply against the rents the amount of the decree for money judgment.
It follows from the above that the court did not err in overruling the general demurrer of each of the defendants.
Judgment affirmed. All the Justices concur.